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                         UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA


                                                     Case No.: 8:22-ml-03052-JVS-KES
     In Re: KIA HYUNDAI VEHICLE THEFT
     MARKETING, SALES PRACTICES,      FINAL JUDGMENT [638]
     AND PRODUCTS LIABILITY
     LITIGATION




     This document relates to:

     ALL CONSUMER CLASS ACTION
     CASES


                                   FINAL JUDGMENT1
          IT IS HEREBY ORDERED AND ADJUDGED that:
       1. The Order Regarding Motion for Final Approval of Class Action Settlement (ECF
          No. 629), the Order Regarding Motion for Class Counsel Fee, Expense Award, and
          Class Representative Awards (ECF No. 630) (collectively, the “Orders”), the
          Amended Settlement Agreement (ECF No. 247-1), and this Judgment are binding
          on and have res judicata and preclusive effect in all pending and future lawsuits or

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  This Judgment incorporates by reference the definitions in the Amended Settlement
 Agreement, and all terms herein shall have the same meaning as set forth in the Amended
 Settlement Agreement.
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      other proceedings concerning the claims released in the Action;
   2. The Action is dismissed with prejudice and, except as expressly set forth in the
      Orders, without costs or attorneys’ fees as to any party;
   3. The Consumer Plaintiffs, Class Counsel, Consumer Plaintiffs’ Counsel, and each
      and every Settlement Class member who did not validly and timely opt-out are
      permanently enjoined from bringing, joining, assisting in, or continuing to prosecute
      against Defendants or any Releasees any claim that was brought in the Action or for
      which a release and covenant not to sue is being given under the Amended
      Settlement Agreement.
   4. Without in any way affecting the finality of this Judgment for purposes of appeal,
      this Court retains jurisdiction as to all matters relating to the interpretation,
      administration, implementation, effectuation and/or enforcement of the Amended
      Settlement Agreement and the Orders.
   5. Pursuant to Rule 54(b) of the Federal Rules of Civil Procedure, the Court finds that
      there is no just reason for delay in the entry of Judgment. This Judgment shall have
      no effect on the Governmental Entities track or the Subrogation Insurers track.


      IT IS SO ORDERED this 29th day of October 29, 2024.




                                             ________________________________
                                             Hon. James V. Selna
                                             United States District Judge




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                                      FINAL JUDGMENT
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